              Case 22-58326-sms                   Doc 1    Filed 10/17/22 Entered 10/17/22 11:49:10                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Kalos Capital, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  11525 Park Woods Circle
                                  Alpharetta, GA 30005
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Fulton                                                        Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5419

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
     the first sub-box. A debtor as
                                        Chapter 11. Check all that apply:
     defined in § 1182(1) who                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




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          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of
    creditors
                                        1-49                                           1,000-5,000                               25,001-50,000
                                        50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

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         Name

                                $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                                $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                                $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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Debtor    Kalos Capital, Inc.                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 17, 2022
                                                  MM / DD / YYYY


                             X /s/ Carol Wildermuth                                                       Carol Wildermuth
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CFO




18. Signature of attorney    X /s/ Marc P. Solomon                                                         Date October 17, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Marc P. Solomon
                                 Printed name

                                 Burr & Forman LLP
                                 Firm name

                                 171 17th Street, NW
                                 Suite 1100
                                 Atlanta, GA 30363
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (205) 251-3000                Email address      msolomon@burr.com

                                 666630 GA
                                 Bar number and State




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                                                     Northern District of Georgia
 In re   Kalos Capital, Inc.                                                                     Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the CFO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




Date:     October 17, 2022                               /s/ Carol Wildermuth
                                                         Carol Wildermuth/CFO
                                                         Signer/Title
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                        2886 Wild Ginger Ct
                        Winter Park, FL 32792



                        Alan Rosca
                        Rocco Scarlato LLC
                        23250 Chagrin Blvd., Ste. 100
                        Beachwood, OH 44122



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                        1800 American Blvd, Ste. 300
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                        Catherine Stephenson
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                    Chrissy Lee
                    2777 High Creek Run
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                    Christa Hibbard
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                    Pamela Gordan as Trustee for
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                    Williamston, MI 48895



                    Patrick Strubbe
                    700 Saturn Parkway
                    Columbia, SC 29212



                    Paul Scarlato
                    Rocco Scarlato LLC
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                    Ronald Biggs
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                                        United States Bankruptcy Court
                                              Northern District of Georgia
 In re   Kalos Capital, Inc.                                                        Case No.
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                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Kalos Capital, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Nouveau Jour Trust
1263 Ponte Vedra Blvd
Ponte Vedra Beach, FL 32082




 None [Check if applicable]




October 17, 2022                               /s/ Marc P. Solomon
Date                                           Marc P. Solomon
                                               Signature of Attorney or Litigant
                                               Counsel for Kalos Capital, Inc.
                                               Burr & Forman LLP
                                               171 17th Street, NW
                                               Suite 1100
                                               Atlanta, GA 30363
                                               (205) 251-3000 Fax:(205) 458-5100
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